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                       IN THE COURT OF COMMON PLEAS
                             STARK COUNTY, OHIO


L.B.
c/o Kyle B. Melling, Esq.
                                           CASE NO:
                                                        2024CV02298
2639 Wooster Rd. Suite 300                 JUDGE           lialipt
Cleveland, OH 44116

Plaintiff,
                                           COMPLAINT
v.
                                           Trial by Jury Demanded
MASSILLON CITY SCHOOLS
BOARD OF EDUCATION,
930 17th Street, S.W.
Massillon, OH 44646

and

PAUL J. SALVINO
Superintendent of Massillon City
Schools
Personal and Individual Capacity
930 17th Street S.W.
Massillon, OH 44646

and

DAVID LAUTENSCHLEGER
Principal Massillon Washington High
School
Personal and Individual Capacity
930 17th Street S.W.
Massillon, OH 44646

and

CRAIG MCCONNELL
Assistant Principal Massillon
Washington High School
Personal and Individual Capacity
930 17'h Street S.W.
Massillon, OH 44646

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 and

 KELSEY SPREAINDE
 Guidance Counselor Massillon
 Washington High School
 Personal and Individual Capacity
 930 17th Street S.W.
 Massillon, OH 44646

 and

 ALEXIS SLIDER
 School Resource Officer Massillon
 Washington High School
 Personal and Individual Capacity
 930 17th Street S.W.
 Massillon, OH 44646

 Defendants.




                                        INTRODUCTION
        Plaintiff L.B. files this Complaint pseudonymously because the prosecution of this lawsuit

will compel the Plaintiff to reveal information of the utmost intimacy arising out of childhood

sexual victimization detailed herein. Plaintiff L.B. similarly will identify others who were minors

at the time of the allegations pseudonymously. Plaintiff alleges, based on the facts alleged below,

that Defendants violated her First Amendment Right to Free Speech, Title IX of the Education

Amendments of 1972, 20 U.S.C. §1681, et seq., and her 4t11 and 14th Amendment rights to due

process, and equal protection under the law pursuant to 42 USC §1981 & §1983, as well as various

state law causes of action included herein as follows:

                          PARTIES, JURISDICTION AND VENUE

        1.     Plaintiff L.B. is a citizen of the State of Ohio and currently resides in Stark County,

Ohio. Plaintiff L.B. was a student at Massillon Washington High School from 2019 through 2023.




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Plaintiff L.B. is an African American Female.

        2.     Defendant Massillon City School District Board of Education (hereinafter referred

to as "Massillon Schools"), is a public educational institution located within Stark County, Ohio.

        3.     At all times relevant, Defendant Massillon Schools was the recipient of federal

financial assistance for the educational programs and activities it offered to students, including

Plaintiff.

        4.     Defendant Paul J. Salvino was at all relevant times the Superintendent of Defendant

Massillon City School District Board of Education. Defendant Salvino is also the father of non-

party A.S. Defendant Salvino is being sued in his individual and official capacities.

        5.     Defendant David Lautenschleger was at all relevant times the Principal of

Massillon Washington High School, a School located within and controlled by Defendant

Massillon City School District Board of Education. Defendant Lautenschleger is being sued in his

individual and official capacities.

        6.     Defendant Craig McConnell was at all relevant times the Assistant Principal of

Massillon Washington High School. Defendant McConnell is also the brother of non-party, former

Massillon Police Department Detective David McConnell. Defendant McConnell is being sued in

his individual and official capacities.

        7.     Defendant Kelsey Spreainde was at all relevant times a Guidance Counselor at

Massillon Washington High School. Defendant Spreainde was Plaintiffs assigned guidance

counselor. Defendant Spreainde is being sued in her individual and official capacities.

        8.     Defendant Alexis Slider was at all relevant times the Massillon Washington High

School - School Resource Officer. Defendant Slider is being sued in her individual and official

capacities.




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        9.      Defendant Massillon Schools administers and controls all Massillon City Schools,

including Massillon Washington High School.

        10.     Defendant Massillon Schools establishes policies and procedures for Massillon

Washington High School and the entire Massillon School District that is applicable and binding

on all students, teachers, employees and administrators, including but not limited to Defendants

Salvino, Lautenschleger, McConnell, Spreainde and Slider. A copy of Defendant Massillon

School's Policies and Procedures is not attached because it is in the possession of Defendant

Massillon Schools.

        11.     This Court has jurisdiction pursuant to R.C. § 2305.01 as the events giving rise to

this Complaint occurred in Stark County, Ohio

        12.     Venue is proper in this Court pursuant to Civil Rule 3(B) because the Defendants

reside and conduct business in Stark County, Ohio, and the actions complained of occurred in this

jurisdiction.

                                   STATEMENT OF FACTS

        13.     Plaintiff L.B. joined the Massillon Washington High School wrestling team during

her freshman year, the 2019-2020 season.

        14.     Non-Party A.S., a male and the son of Defendant Paul Salvino, the Superintendent

of the Massillon Schools, also joined the Massillon Washington High School wrestling team

during his freshman year, the 2019-2020 season.

        15.     Due to Plaintiff L.B. and A.S. wrestling in the same weight class, they were

frequently partnered together during school sanctioned wrestling practices that would take place

at Massillon Washington High School, and under the supervision of the Massillon Washington

High School Wrestling Coach and Assistant Wrestling Coach.




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       16.     During the 2019-2020 wrestling season, while in practice, Non-Party A.S. would

repeatedly touch Plaintiff L.B. in an unwanted, unwarranted, and inappropriate sexual manner.

       17.     These touching's included grabbing and grouping her breasts and genital area in a

manner that was not consistent with widely accepted or appropriate wrestling tactics.

       18.     This touching amounted to sexual harassment and abuse.

       19.     Plaintiff L.B. was fourteen years old at the time of these incidents.

       20.     Plaintiff L.B. did not report A.S. to her wrestling coach or any school employee or

official during the 2019-2020 wrestling season.

       21.     Plaintiff L.B. did not rejoin the Massillon Washington High School wrestling team

for the remainder of the time she was in high school.

       22.     On or around the evening of January 11 and 12, 2022, Plaintiff L.B. and A.S. were

communicating via the social media phone application known as "Snap Chat."

       23.     During this communication, Plaintiff L.B. confronted A.S. about their time on the

wrestling team together and about his unwanted, unwarranted, and inappropriate touching of a

sexual manner.

       24.     During this communication, A.S. confirmed the unwanted, unwarranted, and

inappropriate touching of a sexual manner, and apologized to Plaintiff L.B. for the same.

       25.     During the conversation, because of the nature of "Snap Chat" messages, A.S. was

able to delete some of the messages.

       26.     Plaintiff L.B. took screen shots of the messages that were not deleted.

       27.     In the messages Plaintiff L.B. was able to capture, A.S. admitted that he touched

Plaintiff L.B. in inappropriate ways throughout the wrestling season. A.S. admitted that he had

always wanted to apologize and "thought terrible about it constantly."




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       28.     The next day, on or around January 12, 2022, Plaintiff L.B. brought the screen shots

of the "Snap Chat" conversation to school.

       29.     On January 12, 2022, while at school, Plaintiff went to her guidance counselor's

office, Defendant Kelsey Spreainde.

       30.     While in Defendant Spreainde's office, Plaintiff L.B. told Defendant Spreainde that

she wanted to disclose that something happened to her during her freshman year that was upsetting

to her, and she was confused about.

       31.     Plaintiff L.B. went on to tell Defendant Spreainde that A.S. had sexually assaulted

her repeatedly during wrestling practice, including touching her breasts, and pressing through her

clothing into her genital area.

       32.     Plaintiff L.B. then showed Defendant Spreainde the captured "Snap Chat"

messages.

       33.     Defendant Spreainde did not make copies of the "Snap Chat" messages.

       34.     Defendant Spreainde did not contact law enforcement.

       35.     Defendant Spreainde did not inform Plaintiff L.B. of the district's Title IX policies.

       36.     Defendant Spreainde did not refer the Plaintiff L.B. to the districts Title IX

Coordinator

       37.     Defendant Spreainde did not discuss with Plaintiff L.B. any of the district's

available resources.

       38.     Defendant Spreainde took Plaintiff L.B.'s complaints to the school principal

Defendant David Lautenschleger and relayed the information that Plaintiff L.B. had told her.

       39.     Defendant Spreainde told Defendant Lautenschleger about the screen shots, but

Defendant Lautenschleger did not want to see them.




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         40.   Defendant Spreainde did not discuss with Defendant Lautenschleger their

obligation to report the allegation to law enforcement pursuant to Revised Code §2151.421 nor did

she confirm whether he would report the allegation to law enforcement.

         41.   Defendant Spreainde did not discuss with Defendant Lautenschleger they

obligations pursuant to Title IX.

         42.   Defendant Lautenschleger met with Plaintiff L.B. on the same day, January 12,

2022.

         43.   In his meeting with Plaintiff L.B. Defendant Lautenschleger did not ask Plaintiff

L.B. the names of any students he could interview, refused to look at the screenshots of the "Snap

Chat" messages, told Plaintiff L.B. that nothing would happen to A.S., that the allegations had

occurred a long time ago, and encouraged her to forget about it.

         44.   Defendant Lautenschleger did not inform Plaintiff L.B. of the district's Title IX

policies.

         45.   Defendant Lautenschleger did not refer the Plaintiff L.B. to the districts Title IX

Coordinator.

         46.   Defendant Lautenschleger did not discuss with Plaintiff L.B. any of the district's

available resources.

         47.   Defendant Lautenschleger did contact and inform Defendant Salvino about the

allegations against his son.

        48.    Upon information and belief, Defendant Lautenschleger and Salvino worked

together previously, went to Ashland University together and are friends.

        49.    Non-party Detective David McConnell, at the time, in addition to being the brother

of Assistant Principal Defendant Craig McConnell was also a detective with the Massillon Police




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Department.

       50.     After learning from Defendant Lautenschleger and from his son A.S. about

Plaintiff's allegations, Defendant Salvino called Detective McConnell to ask him for advice.

       51.     In that phone call, Defendant Salvino informed Detective McConnell that a girl was

making allegations about his son, and asked Detective McConnell what they should do. Defendant

Salvino did not inform Detective McConnell of any specifics other than to vaguely indicate that a

girl was making allegations about his son. Detective McConnell indicated that normally a patrol

officer would take a report and then the detectives would investigate, and no patrol officer had

made a report. Detective McConnell recommended that someone should speak with the accuser

(Plaintiff L.B.), and Defendant Salvino did not give Detective McConnell any further information

about the nature of the allegations.

       52.     Later that same day, Defendant Lautenschleger called Detective McConnell and

informed him that Defendant Lautenschleger had spoken with the accuser (Plaintiff L.B.) and her

mother, but that they did not want police involvement. Detective McConnell asked if there had

been a disclosure of a sexual assault or abuse and Defendant Lautenschleger said no.

       53.     Defendant Lautenschleger did not give Detective McConnell any details or

specifics about the allegations, just that the accuser's mother did not want the police involved.

       54.     Detective McConnell was told by both Defendant Lautenschleger and Defendant

Salvino that the school resource officer would follow up with the student. The School Resource

Officer Defendant Alexis Slider was not told to follow up with Plaintiff L.B. about her allegations

of being assaulted.

       55.     Detective McConnell was not told the name of Plaintiff L.B., or any of the specifics

of her allegations against A.S. by any employee or administrator from Defendant Massillon




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Schools.

       56.     After Plaintiff L.B. reported her sexual harassment allegations to her school

counselor Defendant Spreainde and Principal Defendant Lautenschleger on January 12, 2022, and

after Defendant Lautenschleger had refused to look at her screen shots and informed her that

nothing would come from her complaint, Plaintiff L.B. decided to post the copies of the screen

shots onto her private Snap Chat account on January 13, 2022.

       57.     Plaintiff L.B. posted the screenshots along with the message "<<Been wanting to

do that for a while. Posting that be administration did nothing except "talk to his parents" and I

feel he should be held accountable. I don't need hate. I don't want hate. I just want justice for

myself"

       58.     In response to this social media posting where she was critical of Defendant

Massillon School's administration, Defendant Salvino contacted School Resource Officer

Defendant Alexis Slider, and instructed her to go to Plaintiff's house and get the social media

messages taken down.

       59.     When Plaintiff L.B. and her mother arrived home after dinner on January 13, 2022,

School Resource Officer Defendant Alexis Slider was waiting for Plaintiff L.B. in Plaintiff's

driveway.

       60.     Defendant Slider informed Plaintiff L.B. that the principals had been receiving

numerous emails and that Plaintiff L.B. could get in trouble for harassment.

       61.     Defendant Slider also informed Plaintiff L.B. that she could be arrested if she

continued to post about her allegations against A.S. on her social media accounts.

       62.     Fearing imminent arrest, Plaintiff L.B. deleted her social medial postings.

       63.     Defendant Slider did not complete an incident report documenting her visit to




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Plaintiff's home.

       64.     Plaintiff L.B. did not post about the incident or discuss the incident with any other

school employees for the remainder of her Junior Year.

       65.     Plaintiff L.B. never heard from Defendants Spreainde or Lautenschleger regarding

her complaint or A.S. again during her Junior Year.

       66.     Plaintiff L.B. continued to attend school and classes alongside A.S. with no

resources, and no help from the school, despite the school having a specific policy, and the school

having to comply with the requirements of 20 U.S.C. §1681(a) et seq.

       67.     Throughout the remainder of her Junior Year, and during the summer, Plaintiff

suffered from increased anxiety surrounding the fact that she had made her formal complaint, and

yet no one from the school seemingly did anything, other than send the School Resource Officer

to her house to intimidate her into taking her social media posts down.

       68.     In July 2022, Plaintiff made a formal complaint of sexual assault to the Massillon

Police Department. Eventually multiple charges were levied against A.S. in the Stark County

Juvenile Court, Case No. 2022JCR01736.

       69.     Plaintiff L.B. began her senior year at Massillon Washington High School on

August 18, 2022.

       70.     Plaintiff L.B. learned that she was sharing a common lunch period with A.S. and

had to see him every day. Plaintiff L.B.'s anxiety began to increase each day she saw A.S, and she

had two panic attacks between August 18, 2022, and August 24, 2022.

       71.     On August 24, 2022 during the evening, Plaintiff L.B. made another social media

post on "Snap Chat" stating that she had been sexually assaulted and it was "just brushed under

the rug" because it was "by someone who is heavily looked upon by everyone due to their dad




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being important." The post continued: "Teachers, coaches, students are all aware of me being

sexually assaulted by this individual for three consecutive months during my freshman wrestling

season. I've spoke about this many times, and it seems like nobody is aware. But I come to find

out that everyone is aware they just still choose to praise him. You have no idea the pain and

traumatization I have gone through, and you have the audacity to defend him..."

        72.     The next day, on August 25, 2022, while waiting in the gym, prior to entering the

cafeteria for her common lunch period with A.S., Plaintiff L.B. uses her Apple iPhone to "Airdrop"

the screen shots of the "Snap Chat" messages from A.S. from January 2022, to approximately 10

students, including A.S.

        73.        Plaintiff L.B. observed A.S. approach a teacher after Plaintiff L.B. had sent the

screen shots.

        74.     Plaintiff L.B. then walked to toward the guidance office in the high school where

she was approached by Assistant Principal Defendant Craig McConnell, who requested a private

conversation with her.

       75.      Plaintiff L.B. went into Defendant McConnell's office where he asked Plaintiff

L.B. if she had airdropped something to other students.

        76.     Defendant McConnell also told Plaintiff L.B. that her social media "Snap Chat"

post from the night before had caused confrontation in the school and asked her how many views

it has received.

        77.     Defendant McConnell then informed Plaintiff L.B. that she had caused panic and

confrontation, and he would let her know if she was going to be suspended.

        78.     Defendant McConnell then left Plaintiff L.B. alone in his office for approximately

20 minutes.




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       79.     During the time Plaintiff L.B. was alone in Defendant McConnell's office, Plaintiff

L.B. received a text message from a friend informing her that Defendant Salvino was in the school

talking to all of the Massillon Washington High School Principals/Assistant Principals except

Defendant McConnell but including Defendant Lautenschleger.

       80.     Defendant McConnell spoke with Defendant Lautenschleger, and then returned to

his office and informed Plaintiff L.B. that she would be suspended for one day for improper use

of her cell phone.

       81.     Plaintiff L.B. was suspended for one day, August 26, 2024.

       82.     Because of her suspension, Plaintiff L.B. was ineligible to be nominated to the High

School Homecoming Court. Her suspension also appears on her educational record.

       83.     Because of the trauma associated with the named Defendants failing to investigate

her initial allegations of Harassment, Plaintiff L.B. suffered physical and emotional turmoil

throughout her Junior and Senior year of High School and was denied access to education and

benefits provided by Defendant Massillon Schools.

       84.     Throughout her junior and senior year, Plaintiff L.B. was the subject to attention,

ridicule, and harassment from other students and teachers alike due to her allegations against A.S.

that were widely known throughout the school but were not responded to by the school until

September 2022.

       85.     Even after Defendant Massillon Schools finally did turn Plaintiff L.B.'s allegations

over to the schools Title IX coordinator, by then the damage had been done, and she was still

subject to attention, ridicule, and harassment from other students and teachers alike.

       86.     Eventually, a full Title IX investigation was completed, and A.S. and the district

were found to have violated multiple board policies including Board Policy 2266, 5517 and




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5517.01.

        87.    Defendant Massillon Schools maintains a set of policies and procedures that

include, among other relevant policies, Policy 2266 Nondiscrimination on the Basis of Sex in

Education Programs or Activities, Policy 5517 Anti-Harassment and Policy 5517.01 Bullying and

other Forms of Aggressive Behavior.

       88.     Policy 2266 states that neither the Board not any other person may intimidate,

threaten, coerce, or discriminate against any individual for the purpose of interfering with any right

or privilege secured by Title IX, its implementing regulations, or this policy, or because the

individual made a report or complaint, testified, assisted, or participated or refused to participate

in any manner in an investigation, proceeding, or hearing under this policy. Intimidation, threats,

coercion, or discrimination, including charges against an individual for code of conduct violations

that do not involve sex discrimination or Sexual Harassment, but arise out of the same facts or

circumstances as a report or complaint of sex discrimination, or a report or Formal Complaint of

Sexual Harassment, for the purpose of interfering with any right or privilege secured by Title IX,

its implementing regulations, or this policy, constitutes retaliation. Retaliation against a person for

making a report of Sexual Harassment, filing a Formal Complaint, or participating in an

investigation, is a serious violation of this policy that can result in imposition of disciplinary

sanctions/consequences and/or other appropriate remedies.

        89.    Board policy 5517 states retaliation against a person who makes a report or files a

complaint alleging unlawful harassment/retaliation or participates as a witness in an investigation

is prohibited. Neither the Board nor any other person may intimidate, threaten, coerce or interfere

with any individual because the person opposed any act or practice made unlawful by any Federal

or State civil rights law, or because that individual made a report, formal complaint testified,




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assisted or participated or refused to participate in any manner in an investigation, proceeding, or

hearing under those laws and/or this policy, or because that individual exercised, enjoyed, aided

or encouraged any other person in the exercise or enjoyment of any right granted or protected by

those laws and/or this policy. Retaliation against a person from making a report of discrimination,

filing a formal complaint, or participating in an investigation or meeting is a serious violation of

this policy that can result in imposition of disciplinary sanction/consequences and/or other

appropriate remedies.

       90.     Board Policy 5517.07 states retaliation against any person who reports, is thought

to have reported, files a complaint, or otherwise participates in an investigation or inquiry

concerning allegations of aggressive behavior is prohibited and will not be tolerated. Such

retaliation shall be considered a serious violation of Board policy and independent of whether a

complaint is substantiated. Suspected retaliation should be reported in the same manner as

aggressive behavior. Retaliation may result in disciplinary action as indicated above.

                        COUNT I - First Amendment Retaliation
                (Defendants Salvino, Slider, Lautenschleger and McConnell)

       91.     Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 90 as if the same were fully rewritten herein.

       92.     Plaintiff engaged in a constitutionally protected activity in posting to her social

media account criticism of her school and school administrators when she posted on social media

both on or around January 13, 2022, and on or around August 24, 2022.

       93.     Plaintiff experienced adverse actions that caused her to suffer injury and would

likely chill a person of ordinary firmness from continuing to engaged in a constitutionally

protective activity when Defendant Salvino ordered the school resource officer Defendant Slider,

to her house to intimidate her into removing her social media posting on January 13, 2022, and



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when Defendant McConnell suspended Plaintiff on August 25, 2022 due to her social media posts

from the night before.

       94.       Both the visit from the school resource officer and the suspension from school were

adverse actions that caused Plaintiff injury.

       95.       As a direct and proximate result of the actions and omissions of Defendants,

Plaintiff L.B. was caused to suffer mental and physical pain and suffering, psychological injuries,

and a diminution in her capacity for the enjoyment of life.

       96.       As a direct and proximate result of the actions and omissions of Defendants,

Plaintiff has further been deprived of her education and damaged by missed educational

opportunities.

        97.      As a direct and proximate result of this misconduct by Defendants, Plaintiff has

sustained substantial injuries, damages, harms and losses. Accordingly, Plaintiff is entitled to

recover compensatory and other damages in an amount to be determined by a jury, in addition to

expenses and attorney's fees that may be awarded by the Court.

           COUNT II — Violation under Title IX, 20 U.S.C. §1681(a) et seq. — Deliberate
                                        Indifference
        (Defendants Massillon Schools, Salvino, Lautenschleger, Spreainde and McConnell)

        98.      Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 97 as if the same were fully rewritten herein.

        99.      Plaintiff was sexually harassed and abused by non-Party A.S. while a student at

Defendant Massillon Schools. The harassment and abuse suffered by Plaintiff L.B. was severe,

pervasive and objectively offensive, and deprived the plaintiff of access to educational

opportunities and benefits provided by the school.

        100.     Defendants Massillon Schools, Salvino, Lautenschleger, Spreainde and McConnell




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were all on actual notice of Plaintiff's harassment and abuse on the basis of her gender.

       101.    Defendants Massillon Schools, Salvino, Lautenschleger, Spreainde and McConnell

were all in a position to take appropriate corrective action after being informed of the harassment

and all had the authority to take corrective action on Plaintiff's behalf.

       102.    None of Defendants Massillon Schools, Salvino, Lautenschleger, Spreainde or

McConnell adequately responded to Plaintiff's Complaint.

       103.    The acts, and failures to act, perpetrated against Plaintiff amounted to unlawful

sexual harassment and discrimination on the basis of gender. One or more administrators, teachers

or officials of Defendant Massillon Schools, with authority to take corrective action on Plaintiff's

behalf, had actual notice of the discrimination and failed to adequately respond, in violation of

their own policies. Those failures amounted to deliberate indifference toward Plaintiff's

complaints and discrimination.

        104.   Additionally, and/or in the alternative, Defendant Massillon Schools failed to enact

and/or disseminate and/or implement proper or adequate policies or procedures for the recognition,

reporting, investigation and correction of unlawful discrimination. Those failures amounted to

deliberate indifferent toward the unlawful harassment and abuse suffered by Plaintiff.

        105.   Defendants acted with deliberate indifference in deviating significantly from the

standard of care outlined by 20 U.S.C. §1681 et seq. and its own policies and procedures.

        106.   As a direct and proximate result of Defendants failure to act and deliberate

indifference, Plaintiff was subject to additional harassment, was more vulnerable to harassment,

and was deprived of educational opportunities and benefits provided by Defendant Massillon

Schools.

        107.    As a direct and proximate result of the actions and omissions of Defendants,




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Plaintiff L.B. was caused to suffer mental and physical pain and suffering, psychological injuries,

and a diminution in her capacity for the enjoyment of life.

       108.      As a direct and proximate result of the actions and omissions of Defendants,

Plaintiff has further been deprived of her education and damaged by missed educational

opportunities.

       109.      As a direct and proximate result of this misconduct and deliberate indifference by

Defendants, Plaintiff has sustained substantial injuries, damages, harms and losses. Accordingly,

Plaintiff is entitled to recover compensatory and other damages in an amount to be determined by

a jury, in addition to expenses and attorney's fees that may be awarded by the Court.

           COUNT III — Violation under Title IX, 20 U.S.C. §1681(a) et seq. -Retaliation
                                       (All Defendants)

       110.      Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 109 as if the same were fully rewritten herein.

       111.      Plaintiff engaged in the protected activity of reporting her sexual harassment and

abuse by A.S. to Defendants

       112.      Defendants were all aware of Plaintiffs protected activity of reporting her sexual

harassment and abuse by A.S. to defendants.

        113.     Plaintiff was retaliated against for her protected activity of reporting her sexual

harassment and abuse by A.S. by Defendants, and as a result, suffered multiple adverse school

related actions, including but not limited to, a harassing visit from the school resource officer,

Defendant Slider, a suspension from school from Defendant McConnell, ratified by other

defendants, continued harassment from students and school faculty alike, and other missed

educational opportunities.

        114.     As a direct and proximate result of the actions and omissions of Defendants,


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Plaintiff L.B. was caused to suffer mental and physical pain and suffering, psychological injuries,

and a diminution in her capacity for the enjoyment of life.

       115.      As a direct and proximate result of the actions and omissions of Defendants,

Plaintiff has further been deprived of her education and damaged by missed educational

opportunities.

       116.      As a direct and proximate result of this misconduct and deliberate indifference by

Defendants, Plaintiff has sustained substantial injuries, damages, harms and losses. Accordingly,

Plaintiff is entitled to recover compensatory and other damages in an amount to be determined by

a jury, in addition to expenses and attorney's fees that may be awarded by the Court.

                               COUNT IV — Violations of 42 U.S.C. §1983
                                         (All Defendants)

       117.      Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 116 as if the same were fully rewritten herein.

       118.      Plaintiff L.B. is an African American female student, and thus was members of a

protected class under the Equal Protection Clause of the Fourteenth Amendment to the United

States Constitution. The various acts as alleged herein amounted to a violation of these clearly

established constitutionally protected rights, of which reasonable persons in the defendants'

position should have known. Defendants all had a duty to respond appropriate to reports of

student-on-student sexual harassment, and instead of responding appropriately, Defendants all

acted in a manner that was so clearly unreasonable as to amount to deliberate indifference,

Defendants are liable to Plaintiffs pursuant to 42 U.S.C. §1983.

       119.      Additionally, Defendant Massillon Schools failed to enact and/or disseminate

and/or implement proper or adequate policies or procedures for the recognition, reporting,

investigation and correction of unlawful discrimination. Those failures amounted to deliberate



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indifferent toward the unlawful harassment and abuse suffered by Plaintiff.

          120.   Additionally, or in the alternative, Defendant Massillon Schools ratified the

conduct of the individual defendants, thus leading to the violations of Plaintiff's constitutional

rights.

          121.   As a direct and proximate result of the actions and omissions of Defendants,

Plaintiff L.B. was caused to suffer mental and physical pain and suffering, psychological injuries,

and a diminution in her capacity for the enjoyment of life.

          122.   As a direct and proximate result of the actions and omissions of Defendants,

Plaintiff has further been deprived of her education and damaged by missed educational

opportunities.

          123.   As a direct and proximate result of this misconduct and deliberate indifference by

Defendants, Plaintiff has sustained substantial injuries, damages, harms and losses. Accordingly,

Plaintiff is entitled to recover compensatory and other damages in an amount to be determined by

a jury, in addition to expenses and attorney's fees that may be awarded by the Court.

                       COUNT V — State Law Violations of R.C. 2151.421
                               (All Individual Defendants)

          124.   Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 123 as if the same were fully rewritten herein.

          125.   The individual Defendants, acting in the individual and official capacities on behalf

of Defendant Massillon Schools, had a non-delegable duty under R.C. 2151.421, as among other

things, schoolteachers and administrators, to report to their knowledge or reasonable cause to

suspect that a child under eighteen years of age, had suffered or faced a threat of suffering from

abuse or negligent to law enforcement officials.

          126.   Upon information and belief, all individual Defendants had at some point



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individual, specific knowledge of Plaintiff L.B.'s harassment and abuse by A.S.

       127.    None of the individual Defendants made any report to law enforcement or to any

department of child services as required by the statute until at the earliest, September of 2022.

       128.    The individual defendants, in their individual and official capacities acted

recklessly and with an extreme lack of oversight and wantonness in not undertaking any

investigation or taking any action whatsoever, in response to their knowledge and/or reasonable

cause to suspect that Plaintiff had suffered sexual harassment or abuse.

       129.    Because these individual Defendants, in their individual and official capacities,

intentionally, recklessly, willfully and wantonly breached their non-delegable duties under R.C.

2151.421, these defendants are not entitled to immunity.

       130.    As a direct and proximate result of the intentional, reckless, willful, and wanton

violations of R.C. 2151.421 by these defendants, Plaintiff suffered severe pain, mental anguish,

emotional distress and loss of enjoyment of life.

                              COUNT VI — Negligence/Reckless Conduct
                                   (All Individual Defendants)

        131.   Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 130 as if the same were fully rewritten herein.

        132.   As Plaintiffs educators, Defendants owed Plaintiff a duty to care for, protect and

oversee the safety and well-being of Plaintiff

        133.   As recited herein, the individual defendants intentionally, recklessly, willfully and

wantonly breached that duty by ignoring Plaintiffs complaints of harassment, and in retaliating

against Plaintiff in response to her complaints of harassment and abuse.

        134.    As a direct and proximate cause of the conduct alleged herein, Plaintiff suffered

severe pain, mental anguish, emotional distress and loss of enjoyment of life.



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                                   COUNT VII - Breach of Contract
                                    (Defendant Massillon Schools)

       135.    Plaintiff reincorporates and reavers all of the allegations contained in Paragraphs 1

through 134 as if the same were fully rewritten herein.

       136.    Defendant Massillon Schools had policies and procedures in effect that was agreed

to by all students, employees, teachers and administrators, including but not limited to Board

Policy 2266 Nondiscrimination on the Basis of Sex in Education Programs or Activities, Board

Policy 5517 Anti-Harassment and Board Policy 5517.01 Bullying and other Forms of Aggressive

Behavior.

       137.    These policies formed an express contract, or alternatively a contract implied in law

or fact between Plaintiff and Defendant Massillon Schools, governed inter alia by the Massillon

City School District Policies and Procedure, a copy of which is not attached to the instant

complaint because it is owned, maintained, and in the possession of Defendant Massillon City

School District.

       138.    The aforementioned policies prohibit either party from engaging in discrimination

on the basis of sex or race, from retaliation against a person who files a report under Board Policies

2266, 5517 and/or 5517.01.

       139.    Defendant Massillon Schools did retaliate against Plaintiff L.B. when, among other

things, Defendant:

        a.     Failed to contact or make a report with the District's Title IX coordinator as

required by Board Policy 2266, nor did they make a report with the District's Compliance Officer

as required by Board Policy 5517

        b.     Denied Plaintiff a thorough, fair, and equitable investigation of her allegations per

district policies contained in Board Policies 2266, 5517 and 5517,01



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       c.      Sent the School Resource Officer to her home on the evening of January 13, 2022,

to threaten and coercer Plaintiff into removing her social media posts.

       d.      Suspending Plaintiff improperly in violation of its own policies

       e.      Removing Plaintiff from eligibility to sit on the school's homecoming court.

       140.    As a direct and proximate result of Defendant Massillon School's breach of contract

with Plaintiff, Plaintiff L.B. suffered damages including pain, mental anguish, emotional distress

and the loss of enjoyment of life.

       WHEREFORE, for all Causes of Action, Plaintiff prays for judgment for compensatory

damages against Defendants in an amount that will fully and fairly compensate Plaintiff for the

injuries and damages alleged herein in addition to her expenses and attorney's fees that may be

awarded by the Court.

                                        JURY DEMAND

       A trial by jury is demanded on all issues.



                                                       Respectfully submitted,


                                                               a
                                                        KY E B. MELLING (00       08)
                                                        SCOTT M. KUBOFF (0082703)
                                                        Lowe Scott Fisher Co. LPA
                                                        2639 Wooster Road
                                                        Suite 300
                                                        Cleveland, OH 44116
                                                        kmelling@lsflaw.com
                                                        skuboff@lsflaw.com
                                                        216-781-2600
                                                        216-781-2610 (Facsimile)
                                                        Attorneys for Plaintiff




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                                           IN THE COURT OF COMMON PLEAS
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VS.

 Massillon City School District Board of Education                Civil Complaint
                                                              (    ) PLEASE CHECK IF THIS IS
                                                                     DOMESTIC CASE
                    Defendant/Petitioner

TO THE CLERK:
PLAINTIFF/DEFENDANT REQUESTS:                                 EXPRESS MAIL SERVICE _


CERTIFIED MAIL SERVICE             V                          REGULAR MAIL SERVICE


PERSONAL SERVICE                                              RESIDENCE SERVICE


PROCESS SERVICE                                               FOREIGN SHERIFF




                    LIST NAME AND ADDRESS OF PERSON(S) TO BE SERVED




ON
               Massillon City Schools Board of Education
               930 17th Street, S.W.
               Massillon, OH 44646




      Kyle B. Melling                                                      216-781-2600
ATTORNEY                                                                PHONE NUMBER

  2639 Wooster Road                                                         91208
  Cleveland, OH 44116
ADDRESS                                                                 ATTORNEY NUMBER




(rev. 02/01)
      Case: 5:25-cv-00002-SL Doc #: 1-2 Filed: 01/02/25 24 of 32. PageID #: 31

                                             IN THE COURT OF COMMON PLEAS
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                      Plaintiff/Petitioner
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VS.

 Massillon City School District Board of Education                Civil Complaint
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                      Defendant/Petitioner

TO THE CLERK:
PLAINTIFF/DEFENDANT REQUESTS:                                 EXPRESS MAIL SERVICE _


CERTIFIED MAIL SERVICE               V                        REGULAR MAIL SERVICE


PERSONAL SERVICE                                              RESIDENCE SERVICE


PROCESS SERVICE                                               FOREIGN SHERIFF




                      LIST NAME AND ADDRESS OF PERSON(S) TO BE SERVED




ON
                 Paul J. Salvino
                 Superintendent of Massillon City Schools
                  Personal and Individual Capacity
                 930 17th Street, S.W.
                 Massillon, OH 44646




      Kyle B. Melling                                                      216-781-2600
ATTORNEY                                                                PHONE NUMBER

  2639 Wooster Road                                                          91208
  Cleveland, OH 44116
ADDRESS                                                                 ATTORNEY NUMBER




(rev. 02/0 1 )




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                                           IN THE COURT OF COMMON PLEAS
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                    Plaintiff/Petitioner                    (TYPE OF PAPERS BEING SERVED)
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VS.

 Massillon City School District Board of Education              Civil Complaint
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                                                                   DOMESTIC CASE
                    Defendant/Petitioner

TO THE CLERK:
PLAINTIFF/DEFENDANT REQUESTS:                               EXPRESS MAIL SERVICE


CERTIFIED MAIL SERVICE             V                        REGULAR MAIL SERVICE


PERSONAL SERVICE                                            RESIDENCE SERVICE


PROCESS SERVICE                                             FOREIGN SHERIFF




                   LIST NAME AND ADDRESS OF PERSON(S) TO BE SERVED




ON
               David Lautenschleger
               Principal of Massillon Washington High School
               Personal and Individual Capacity
               930 17th Street, S.W.
               Massillon, OH 44646




      Kyle B. Melling                                                    216-781-2600
ATTORNEY                                                               PHONE NUMBER

  2639 Wooster Road                                                        91208
  Cleveland, OH 44116
ADDRESS                                                                ATTORNEY NUMBER




(rev. 02/01)
      Case: 5:25-cv-00002-SL Doc #: 1-2 Filed: 01/02/25 26 of 32. PageID #: 33

                                           IN THE COURT OF COMMON PLEAS
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                    Plaintiff/Petitioner                      (TYPE OF PAPERS BEING SERVED)
VS.

 Massillon City School District Board of Education                Civil Complaint
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                    Defendant/Petitioner

TO THE CLERK:
PLAINTIFF/DEFENDANT REQUESTS:                                 EXPRESS MAIL SERVICE _


CERTIFIED MAIL SERVICE             V                          REGULAR MAIL SERVICE


PERSONAL SERVICE                                              RESIDENCE SERVICE


PROCESS SERVICE                                               FOREIGN SHERIFF




                    LIST NAME AND ADDRESS OF PERSON(S) TO BE SERVED




ON             Craig McConnell
               Assistant Principal of Massillon Washington High School
               Personal and Individual Capacity
               930 17th Street, S.W.
               Massillon, OH 44646




      Kyle B. Melling                                                      216-781-2600
ATTORNEY                                                                PHONE NUMBER

  2639 Wooster Road                                                         91208
  Cleveland, OH 44116
ADDRESS                                                                 ATTORNEY NUMBER




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                                           IN THE COURT OF COMMON PLEAS
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VS.

 Massillon City School District Board of Education               Civil Complaint
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                    Defendant/Petitioner

TO THE CLERK:
PLAINTIFF/DEFENDANT REQUESTS:                                EXPRESS MAIL SERVICE _


CERTIFIED MAIL SERVICE            V                          REGULAR MAIL SERVICE


PERSONAL SERVICE                                             RESIDENCE SERVICE


PROCESS SERVICE                                              FOREIGN SHERIFF




                   LIST NAME AND ADDRESS OF PERSON(S) TO BE SERVED




ON             Kelsey Spreainde
               Guidance Counselor, Massillon Washington High School
               Personal and Individual Capacity
               930 17th Street, S.W.
               Massillon, OH 44646




      Kyle B. Melling                                                     216-781-2600
ATTORNEY                                                               PHONE NUMBER

  2639 Wooster Road                                                        91208
  Cleveland, OH 44116
ADDRESS                                                                ATTORNEY NUMBER




(rev. 02/01)
      Case: 5:25-cv-00002-SL Doc #: 1-2 Filed: 01/02/25 28 of 32. PageID #: 35

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VS.
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 Massillon City School District Board of Education               Civil Complaint
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                    Defendant/Petitioner

TO THE CLERK:
PLAINTIFF/DEFENDANT REQUESTS:                                EXPRESS MAIL SERVICE


CERTIFIED MAIL SERVICE             V                         REGULAR MAIL SERVICE


PERSONAL SERVICE                                             RESIDENCE SERVICE


PROCESS SERVICE                                              FOREIGN SHERIFF




                   LIST NAME AND ADDRESS OF PERSON(S) TO BE SERVED




ON
               Alexis Slider
               School Resource Officer, Massillon Washington High School
               Personal and Individual Capacity
               930 17th Street, S.W.
               Massillon, OH 44646




      Kyle B. Melling                                                     216-781-2600
ATTORNEY                                                               PHONE NUMBER

  2639 Wooster Road                                                         91208
  Cleveland, OH 44116
ADDRESS                                                                 ATTORNEY NUMBER




(rev. 02/01)                                                                                  ENTERED
           Case: 5:25-cv-00002-SL  Doc
                      IN THE COURT OF  #: 1-2 Filed:
                                      COMMON  PLEAS,01/02/25 29 of 32.
                                                     STARK COUNTY,     PageID #: 36
                                                                    OHIO

                                       LYNN M. TODARO
                            STARK COUNTY CLERK OF COURTS


    L.B.
                          PLAINTIFF,
                  VS.                           CASE NUMBER :     2024CV02298

    MASSILLON CITY SCHOOLS BOARD             ASSIGNED JUDGE :     NATALIE R. HAUPT
    OF EDUCATION ,ET AL

                         DEFENDANT,



                                        SUMMONS
                                                                   December 2, 2024
TO THE FOLLOWING NAMED DEFENDANT:
       MASSILLON CITY SCHOOLS BOARD OF EDUCATION
       930 17TH ST SW
       MASSILLON, OH 44646

YOU HAVE BEEN NAMED A DEFENDANT IN A COMPLAINT FILED IN STARK COUNTY COURT OF COMMON
PLEAS, STARK COUNTY COURT HOUSE, CANTON, OHIO 44702 BY:
        L.B. -
        C/O KYLE B MELLING ESQ
        2639 WOOSTER RD., STE 300
        CLEVELAND, OH 44116                                        PLAINTIFF.

A COPY OF THE COMPLAINT IS ATTACHED HERETO. THE NAME AND ADDRESS OF THE PLAINTIFF'S
ATTORNEY IS:
        SCOTT KUBOFF
        115 MAIN ST
        CHARDON, OH 44024

YOU ARE HEREBY SUMMONED AND REQUIRED TO SERVE UPON THE PLAINTIFF'S ATTORNEY, OR UPON THE
PLAINTIFF, IF HE HAS NO ATTORNEY OF RECORD, A COPY OF AN ANSWER TO THE COMPLAINT WITHIN
TWENTY-EIGHT DAYS AFTER THE SERVICE OF THIS SUMMONS ON YOU, EXCLUSIVE OF THE DAY OF SERVICE.
YOUR ANSWER MUST BE FILED WITH THE COURT WITHIN THREE DAYS AFTER THE SERVICE OF A COPY OF
THE ANSWER ON THE PLAINTIFF'S ATTORNEY.

IF YOU FAIL TO APPEAR AND DEFEND, JUDGMENT BY DEFAULT WILL BE RENDERED AGAINST YOU FOR THE
RELIEF DEMANDED IN THE COMPLAINT.




LYNN M. TODARO
CLERK OF COURTS
STARK COUNTY, OHIO



H. BRAGG, DEPUTY CLERK
1/2/25, 10:44 AM         Case: 5:25-cv-00002-SL Doc #:starkcjis.org/#/case/detail/CPC/2024CV02298
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         Case Information
          Case Information


              LL B VS MASSILLON
                 B VS MASSILLON CITY
                                CITY SCHOOLS
                                     SCHOOLS BOARD
                                             BOARD OF
                                                   OF EDUCATION
                                                      EDUCATION ET AL
                                                                ET AL
              Assigned to Judge Haupt in Stark County Common Pleas Court
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         I 2024CV02298
           2024CV02298

          Case Type

          Other Torts
          Filed On

          Nov 27, 2024
          Case Status

          Open Case

          Next Action
          None

          Financials

             Costs                                        Payments               Balance

             $317.04                                      $317.04                $0.00

          Parties

             Type            Name / Address                                                    Attorney


             Plaintiff       L.B.                                                              KYLE
                             C/O KYLE B MELLING ESQ CLEVELAND OH 44116                         MELLING
                                                                                               SCOTT
                                                                                               KUBOFF

             Defendant       MASSILLON CITY SCHOOLS BOARD OF EDUCATION
                             930 17TH ST SW MASSILLON OH 44646


             Defendant       SALVINO, PAUL J SUPERINTENDENT OF MASSILLON CITY SCHOOLS
                             PERSONAL AND INDIVIDUAL CAPACITY
                             930 17TH ST SW MASSILLON OH 44646


             Defendant       LAUTENSCHLEGER, DAVID PRINCIPAL MASSILLON WASHINGTON HIGH
                             SCHOOL PERSONAL AND INDIVIDUAL CAPACITY
                             930 17TH ST SW MASSILLON OH 44646


             Defendant       MCCONNELL, CRAIG ASSISTANT PRINCIPAL MASSILLON WASHINGTON HIGH
                             SCHOOL PERSONAL AND INDIVIDUAL CAPACITY
                             930 17TH ST SW MASSILLON OH 44646


             Defendant       SPREAINDE, KELSEY GUIDANCE COUNSELOR MASSILLON WASHINGTON HIGH
                             SCHOOL PERSONAL AND INDIVIDUAL CAPACITY
                             930 17TH ST SW MASSILLON OH 44646



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                                                  1-2 Filed: 01/02/25 31 of 32. PageID #: 38
           Type           Name / Address                                                            Attorney


           Defendant      SLIDER, ALEXIS SCHOOL RESOURCES OFFICER MASSILLON WASHINGTON
                          HIGH SCHOOL PERSONAL AND INDIVIDUAL CAPACITY
                          930 17TH ST SW MASSILLON OH 44646




          Docket
         Docket

        ▲Date                Docket Entry

        Nov 27, 2024         DEPOSIT RECEIVED FROM LOWE SCOTT FISHER CO LPA RECEIPT NO. CV499952 IN THE
                             AMOUNT OF $373.00

        Nov 27, 2024         DEPOSIT RECEIVED FROM LOWE SCOTT FISHER CO LPA RECEIPT NO. CV499953 IN THE
                             AMOUNT OF $200.00

        Nov 27, 2024         COMPLAINT FILED INSTRUCTIONS FOR SERVICE FILED. SUMMONS AND COPIES OF
                             COMPLAINT SENT TO MASSILLON CITY SCHOOLS BOARD OF EDUCATION BY CERTIFIED MAIL
                             TRACKING NO: 9414814903680975096302; (###446462024CV02298000!!!); PAUL SALVINO
                             SUPERINTENDENT OF MASSILLON CITY SCHOOLS PERSONAL AND INDIVIDUAL CAPACITY BY
                             CERTIFIED MAIL TRACKING NO: 9414814903680975096319;(###446462024CV02298001!!!); DAVID
                             LAUTENSCHLEGER PRINCIPAL MASSILLON WASHINGTON HIGH SCHOOL PERSONAL AND
                             INDIVIDUAL CAPACITY BY CERTIFIED MAIL TRACKING NO: 9414814903680975096326;
                             (###446462024CV02298002!!!); CRAIG MCCONNELL ASSISTANT PRINCIPAL MASSILLON
                             WASHINGTON HIGH SCHOOL PERSONAL AND INDIVIDUAL CAPACITY BY CERTIFIED MAIL
                             TRACKING NO: 9414814903680975096333;(###446462024CV02298003!!!); KELSEY SPREAINDE
                             GUIDANCE COUNSELOR MASSILLON WASHINGTON HIGH SCHOOL PERSONAL AND
                             INDIVIDUAL CAPACITY BY CERTIFIED MAIL TRACKING NO: 9414814903680975096340;
                             (###446462024CV02298004!!!); ALEXIS SLIDER SCHOOL RESOURCES OFFICER MASSILLON
                             WASHINGTON HIGH SCHOOL PERSONAL AND INDIVIDUAL CAPACITY BY CERTIFIED MAIL
                             TRACKING NO: 9414814903680975096357;(###446462024CV02298005!!!);

        Nov 27, 2024         DESIGNATION FORM FILED

        Nov 27, 2024         JURY DEMAND - PLAINTIFF

        Dec 10, 2024         SERVICE COMPLETE FOR SERVICE ISSUED 11-27-2024 CERTIFIED MAIL TO PAUL J SALVINO
                             SUPERINTENDENT OF MASSILLON CITY SCHOOLS PERSONAL AND INDIVIDUAL CAPACITY 930
                             17TH ST SW MASSILLON OH 44646 ON 12-06-2024

        Dec 10, 2024         SERVICE COMPLETE FOR SERVICE ISSUED 11-27-2024 CERTIFIED MAIL TO MASSILLON CITY
                             SCHOOLS BOARD OF EDUCATION 930 17TH ST SW MASSILLON OH 44646 ON 12-05-2024

        Dec 10, 2024         SERVICE COMPLETE FOR SERVICE ISSUED 11-27-2024 CERTIFIED MAIL TO ALEXIS SLIDER
                             SCHOOL RESOURCES OFFICER MASSILLON WASHINGTON HIGH SCHOOL PERSONAL AND
                             INDIVIDUAL CAP 930 17TH ST SW MASSILLON OH 44646 ON 12-05-2024

        Dec 10, 2024         SERVICE COMPLETE FOR SERVICE ISSUED 11-27-2024 CERTIFIED MAIL TO KELSEY
                             SPREAINDE GUIDANCE COUNSELOR MASSILLON WASHINGTON HIGH SCHOOL PERSONAL
                             AND INDIVIDUAL CAPACI 930 17TH ST SW MASSILLON OH 44646 ON 12-05-2024




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        ▲Date                Docket Entry

        Dec 10, 2024         SERVICE COMPLETE FOR SERVICE ISSUED 11-27-2024 CERTIFIED MAIL TO CRAIG
                             MCCONNELL ASSISTANT PRINCIPAL MASSILLON WASHINGTON HIGH SCHOOL PERSONAL AND
                             INDIVIDUAL CAPACI 930 17TH ST SW MASSILLON OH 44646 ON 12-05-2024

        Dec 10, 2024         SERVICE COMPLETE FOR SERVICE ISSUED 11-27-2024 CERTIFIED MAIL TO DAVID
                             LAUTENSCHLEGER PRINCIPAL MASSILLON WASHINGTON HIGH SCHOOL PERSONAL AND
                             INDIVIDUAL CAPACITY 930 17TH ST SW MASSILLON OH 44646 ON 12-06-2024




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